                Case 4:91-cr-00176-LGW-CLR Document 1500 Filed 09/08/15 Page 1 of 1
AO24? (Rev. l1/ll)                                  Reduotion
                                   Motionfor Sentence
                      OrderRegarding                              to 18U.S.C.! 3582(cX2)
                                                            Pursuant                                      PageI of2 (Page2 Not for PublioDisclosure)

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                                       UNrrBpSraresDrsrRrcrCounr                                                              rif;,itlsTA
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                                                                     for the
                                                                                                                           trJSStp
                                                                                                                                -B ifil0:
                                                         SouthemDistrictof Georgia                                                       r.9
                                                           SAVANNAH DIVISION
                     UnitedStatesof America
                                  V,
                                                                            CaseNo: 4:91CR00176-10
                            SeanJackson
                                                                            USM No: 07651-021
Dateof OriginalJudgment:       March27, 1992
DateofPrevious AmendedJudgment:February
                                      2, 20,1                               JohnWatts,Jr.
(UseDate of LastAmendedJudgtnentiJAny)                                      Defekdant's Attorney


                 ORDERREGARDINGMOTION FOR SENTENCEREDUCTION
                         PURSUANTTO 18U.S.C.$ 3s82(c)(2)
       Upon motionof X the defendant D the Directorof theBureauofPrisons E the courtunder18U.S.C.
$ 3582(cX2)for a reductionin thetermof imprisonment   imposedbasedon a guidelinesentencing     rangethathas
subsequentlybeenloweredandmaderetroactiveby the UnitedStatesSentencing          Commission  pursuant to 28 U.S C.
$ 994(u),
        and having  considered such  motion,and taking into account the policy statementsetforth at USSG  $18 1 10
andthe sentencing factorssetforth in 18U.S.C. $ 3553(a), to the extentthat theyare applicable,

lT lS ORDEREDthatthemotionis:
                                                                                 (asrelected
                                                                   of imprisonment
                                           previouslyimposedsentence
       n DENIED. I GRANTEDandthe defendant's                                               in
                                    465 months(405months                                                       270months(210months
the lastjudgkertt isrued)of       plus60 months,conjlgqrygl            monthsis reduced to                plusqqrngntbl|cqqslqqllyql.-
                                             (Complete Parts I and II of Page 2 vhen motton is granted)




Exceptasotlerwiseprovided,all provisionsofthejudgmentdated                                                                     in effect.

IT IS SO ORDERED.

orderDate:
       ?lEl5                                                                                              's
                                                                                                               signata/e


                                                                                              Dudley H. Bowen, JI.
Effective Date:          Ilq:CnUqt t , ,Zll S                                               United StatesDistrict Judge
                      (if di|ferentftom ordet date)                                             Printed name and title
